Case 3:05-cv-01202-VLB Document 1 Filed 07/28/05 Page 1 of 9
Case 3:05-cv-01202-VLB Document 1 Filed 07/28/05 Page 2 of 9
Case 3:05-cv-01202-VLB Document 1 Filed 07/28/05 Page 3 of 9
Case 3:05-cv-01202-VLB Document 1 Filed 07/28/05 Page 4 of 9
Case 3:05-cv-01202-VLB Document 1 Filed 07/28/05 Page 5 of 9
Case 3:05-cv-01202-VLB Document 1 Filed 07/28/05 Page 6 of 9
Case 3:05-cv-01202-VLB Document 1 Filed 07/28/05 Page 7 of 9
Case 3:05-cv-01202-VLB Document 1 Filed 07/28/05 Page 8 of 9
Case 3:05-cv-01202-VLB Document 1 Filed 07/28/05 Page 9 of 9
